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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION



IMMERSION CORPORATION,
                                             Case No. 2:17-CV-00572-JRG
                    Plaintiff,                 LEAD CASE

             v.                              Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA, INC.;
SAMSUNG ELECTRONICS CO., LTD.                JURY TRIAL DEMANDED
                    Defendants.



    IMMERSION CORPORATION’S SUR-REPLY IN OPPOSITION TO SAMSUNG
       DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF
          NO PRE-SUIT DAMAGES FOR THE ’051 AND ’332 PATENTS




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       Samsung’s reply brief demonstrates that it fails to fully appreciate what the law requires

of both Immersion and Samsung with respect to the marking requirement. Immersion’s

allegation that Samsung’s infringement was and is willful and deliberate, with full knowledge of

the patents, is sufficient to plead compliance with the marking statute. Under Arctic Cat,

Samsung bears the initial burden of production to identify specific products that it believes

should have been marked, but were not. Samsung has not met even that initial burden. And

Immersion’s evidence and the testimony of its employees demonstrate that Immersion did in fact

make reasonable efforts to ensure compliance with the marking requirements. On this record,

there is a legally sufficient evidentiary basis for a reasonable jury to find for Immersion with

respect to compliance with 35 U.S.C. § 287.

I.     IMMERSION’S COMPLAINT SATISFIES THE REQUIREMENT TO PLEAD
       COMPLIANCE WITH THE MARKING STATUTE

       Pleading that the defendant’s “infringements have been willful and with full knowledge

of the [patents]” satisfies a patent plaintiff’s obligation to plead compliance with the marking

statute. Sentry Protection Prods., Inc. v. Eagle Mfg. Co., 400 F.3d 910, 918 (Fed. Cir. 2005)

(citing Dunlap v. Schofield, 152 U.S. 244, 249 (1894); see also AVID Identification Sys., Inc. v.

Philips Electronics N. Am. Corp., No. 2:04-CV-183, 2006 WL 1408318, at *1 (E.D. Tex. May

18, 2006) (allegation that defendants “willfully and deliberately infringed” patentee’s patents

fulfilled “duty to plead compliance with 287(a),” consistent with Sentry Protection).

       That is exactly what Immersion has done in this case. Immersion’s Amended Complaint

pleads that, “despite having knowledge of the ’332 patent and also knowing that it did not have a

license to the ’332 patent, Samsung has continued to make, use, offer to sell, sell, and import the

Accused Phones. Samsung’s infringement has been, and continues to be, willful and deliberate

and has caused substantial damage to Immersion.” (ECF No. 68 at ¶ 55.) The Amended



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Complaint contains a nearly identical statement for the ’051 patent. (Id. at ¶ 64.) Immersion has

met its pleading obligation under § 287(a).

II.     SAMSUNG HAS NOT MET ITS BURDEN UNDER ARCTIC CAT TO IDENTIFY
        SPECIFIC UNMARKED PRODUCTS THAT IT BELIEVES PRACTICE THE
        PATENT

        Among its opening brief, reply, and its interrogatory responses, Samsung has not

identified any specific products sold by Immersion licensees that are unmarked but also practice

the ’051 or the ’332 patents. (ECF No. 194-4, Immersion Ex. 4, 12/7/18 Samsung Resp. to Rog.

No. 18 at 18-20.) Arctic Cat requires that “an alleged infringer who challenges a patentee’s

compliance with § 287 bears an initial burden of production to identify the products it believes

are unmarked ‘patented articles’ subject to § 287” in order to “put the patentee on notice that he

or his authorized licensees sold specific unmarked products which the alleged infringer believes

practice the patent.” Arctic Cat Inc. v. Bombardier Rec. Prods. Inc., 876 F.3d 1350, 1368 (Fed.

Cir. 2017) (emphasis added).

        Samsung did not do so at any time during fact discovery. As Samsung admits, the most it

did in its answer was to “point[] out that Immersion has failed ‘to mark its own products’ or ‘to

police the marking of Immersion’s customers and licensees.’ ECF No. 69 at 9.” (Reply at 7.)

That is not enough to meet Arctic Cat’s requirement. Which products? Samsung never said, and

still does not say.

        Samsung attached four licenses to its reply brief: Immersion’s licenses with Apple,

Motorola,1 HTC, and LG. (Reply at 7.) But Samsung did not identify any of these licenses in its

interrogatory responses during fact discovery. (ECF No. 129-4 Immersion Ex. 4, 12/7/18

Samsung Resp. to Rog. No. 18 at 18-20.) And Samsung did not identify any allegedly unmarked
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 Because the Motorola license expired on November 21, 2015, it is not germane to this dispute.
Samsung’s infringement began after December 31, 2015, when its license with Immersion
expired.


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products from these companies during fact discovery. And Samsung still has not identified a

single product from one of these companies that it believes was sold under license, unmarked,

and practices one or both of the ’051 and ’332 patents. (Reply at 7.) Arctic Cat warns that

“[p]ermitting infringers to allege failure to mark without identifying any products could lead to a

large scale fishing expedition and gamesmanship.” Arctic Cat, 876 F.3d at 1368 (emphasis

added). Immersion’s licensees sell many different products—an “unbounded universe” of

products, in the words of Arctic Cat—as anyone who has been to an Apple Store could attest.

Samsung has completely ignored its obligation to identify specific unmarked products that it

believes practice the relevant patents.

          Because Samsung has not identified even one unmarked product that it claims practices

the ’051 and ’332 patents and was sold by Immersion or an Immersion licensee, Samsung has

not met its burden of production to “articulate the products it believes are unmarked ‘patented

articles’ subject to § 287.” Id.

III.      THE TESTIMONY OF IMMERSION EMPLOYEES ESTABLISHES
          COMPLIANCE WITH THE MARKING STATUTE

          Samsung’s motion not only ignores the quantity of evidence Immersion produced related

to marking (including virtual marking), it also selectively quoted portions of the testimony of

Immersion’s employees to argue that Immersion did nothing with respect to marking. (Opening

Br. at 8-9.) For example, Samsung boldly contends that “Immersion’s fact witnesses confirmed

that Immersion does not actually police any such requirements” for marking. (Reply at 7-8).

Not so.

          Immersion fact witness Catherine Maresh’s testimony demonstrates that Immersion does

in fact police its licensees. Ms. Maresh testified that “

                                             and that



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                                                                              (ECF No. 130-1,

Maresh Decl. ¶ 2; ECF No. 129-3, Ex. 3 Maresh Depo. at 97:1-11.) She also explained that in

many cases

                                                                 . (Id. at 93:4-22.) She also

testified that

(Id. at 98:7-15.). Ms. Maresh’s testimony confirms that




        From this testimony and other evidence that Immersion has submitted, a reasonable jury

could find in Immersion’s favor with respect to the marking requirement. Summary judgment

should be denied.

        IV.      CONCLUSION

        Because Immersion has complied with the pleading requirement, because Samsung failed

to identify a single, specific unmarked product sold by Immersion or a licensee that it believes

practices the ’051 and ’332 patents, and because Immersion has taken reasonable steps to ensure

products required to be marked are indeed marked, Samsung’s motion should be denied.




Dated: March 12, 2019                            Respectfully submitted,



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             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       The undersigned certifies that the foregoing document is authorized to be filed under seal

pursuant to the Protective Order entered in this case (ECF No. 32).



                                             /s/ Marc David Peters




                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Pursuant to Local Rule CV-5(a)(7)(D), all counsel of

record were served with a true and cored copy of the foregoing by email on this the 12th day of

March, 2019.




                                                    /s/ Marc David Peters




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